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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.


   RESPONSE OF HINSDALE COUNTY SHERIFF RON BRUCE TO
             DEFENDANT’S INTERROGATORIES

          Sheriff Bruce, by and through his undersigned counsel, and pursuant to Fed.
   R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                              GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Bruce before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Bruce’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Bruce reserves the right to amend, supplement, or change these
   discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.




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          Sheriff Bruce makes each individual response subject to and without waiving
   the conditions and objections that are stated in the sections of these responses
   entitled “General Objections” and “Objections to Instructions and Definitions” and
   that are specifically referred to in that particular individual response.

          Sheriff Bruce makes each individual response without adopting in any way
   (unless otherwise stated) the terms and phrases that Defendant purports to define
   in his discovery. When Sheriff Bruce uses words or phrases that Defendant has
   purported to define, those words and phrases should be given either (a) the meaning
   set out by Sheriff Bruce in his responses, or in its objections to the specific
   definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Bruce gives ordinary words and phrases their ordinary meaning.
   By making this written response, Sheriff Bruce does not (a) adopt any purported
   definition, (b) waive or limit its objections to Defendant’s purported definitions, or
   (c) concede the applicability of any such definition to any term or phrase that might
   be contained in written responses. Wherever these words are used in Defendant’s
   interrogatories, these objections and these clarifications are incorporated, unless
   otherwise specified in the request.

          Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Bruce objects to this definition to the extent that it purports to
   require the disclosure of information, communications, or documents protected from
   disclosure by the attorney-client privilege, work product immunity, or any other
   privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response: The Hinsdale County Sheriff's Office has not responded to any home
   invasions or robberies in the home since January 1, 2004.


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         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Bruce objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Bruce objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   Our deputies have no record of any officer involved shootings outside of those that
   are related to animals. Our deputies have discharged various firearms, while on
   duty, for the purposes of hazing wildlife, putting down injured wildlife or domestic
   animals. This has happened countless times each year and no specific
   documentation has been kept regarding those circumstances.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from
   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;


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   Response: Sheriff Bruce objects to this interrogatory on the ground that the word
   “event” is vague. Subject to and without waiving this objection: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response: Since I have taken office, which was in January of 2007, there has been
   no use of a posse comitatus or able-bodied adults.

   However, in November of 1994, the Hinsdale County Sheriff requested the
   assistance of a non-certified deputy who was a retired Air Force Lieutenant Colonel.
   During the dangerous traffic stop, the sheriff was shot and killed. The non-certified
   deputy fired 17 rounds from his Beretta Model 92 9mm pistol at the suspects when
   they fled. One of the bullets struck the tire of the vehicle forcing the suspects to
   retreat on foot. The suspects fled into the mountains and were discovered dead
   around 30 days later. The male had shot the female and himself with the same .44
   magnum that was used to kill the sheriff.

   During the manhunt for these two suspects, over 100 local citizens were sworn in to
   assist the approximately 200 law enforcement officers in conducting the search.
   Several hundred buildings and the surrounding land mass was searched without a
   single shot being fired. There is no information on the firearms and magazines since
   they ran the gamut of nearly anything available at the time.

   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a


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   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: An unknown number of bullets were fired at the Sheriff from a .44
   magnum. The non-certified deputy that had been assisting the sheriff fired 17
   rounds from his Beretta Model 92 9mm handgun. The sheriff was shot at the scene.
   The suspect driver then shot the female that he was with and shot himself.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: The sheriff was shot and killed by the suspect driver. The female
   suspect was also shot and killed by the suspect driver. Later, the suspect driver
   killed himself with a self-inflicted gunshot.

   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: I cannot state specific dates or numbers regarding non-certified
   deputies. However, Hinsdale County Sheriff's Office does utilize a total of eight non-
   certified deputies. Six of these individuals have been utilized at various times for
   law enforcement details and were bestowed with temporary powers of arrest have
   been bestowed. Those activities have included roadblocks, security patrols around
   hunting season and around private lands, backing up sworn officers, search and
   rescue operations and back county ranger patrols.

   During my tenure as sheriff, none of those parties has had to discharge their
   authorized firearms in the line of duty. However, they have, at various times, been
   issued patrol carbines with either a 30 or 60 round magazine. In some cases, they
   have provided their own carbine with the same capacity magazines.

   Hinsdale County is approximately 1,100 square miles of some of the most rugged
   terrain in the lower 48 states. The United States Geological Survey declared out
   county to be the most remote in those 48 states, about eight years ago. I have four
   full-time sworn officers including myself, one sworn part-time deputy, one sworn

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   reserve deputy and eight non-sworn deputies. The reserve and non-sworn are all
   volunteers. As stated before we all train and shoot together. The volunteers get the
   same in-house training that my sworn staff get. Our nearest expected back-up
   agencies are at least one hour away. We do not have the luxury of waiting for help;
   my non-sworn staff go a long way to plug that resource gap.

   We issue and train with standard capacity magazines for our carbines and select-
   fire firearms, up to and including 60 round magazines. These, on occasion, are
   issued to my non-sworn staff in times of need. Most of them also personally own
   such firearms, including select-fire firearms (BATFE licensed). 96% of our county is
   public land (USFS – Uncompahgre, Gunnison, Rio Grande and San Juan and BLM)
   and we receive a very large number of the public coming here to recreate and about
   65% of our home owners are 2nd home owners, largely from Texas and Oklahoma.
   The demands on our small Sheriff’s Office are great and we must be prepared to
   handle almost anything that lands in our laps.


   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.


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   Response: Sheriff Bruce objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection:

   I am not aware of any personnel, sworn or otherwise, having had to use a firearm in
   self-defense of home, property or other third party individuals. However, I can state
   that all of these individuals are encouraged to respond to a knock at their door with
   a firearm readily available. All these individuals are also strongly encouraged to
   carry a firearm at all times that they are legally able to do so. All of my non-sworn
   staff have concealed carry permits. All of the non-sworn deputies also qualify and
   tactically train with our sworn staff.


   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: Please see the response to question three for details to this question.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Please see the response to question three for details to this question.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Please see the response to question three for the details to this
   question.


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   AS TO OBJECTIONS:
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                                          Denver, CO 80203
                                          Phone: (303) 279-6536
                                          Fax: (303) 279-4176
                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

   AS TO RESPONSES:
          Pursuant to 28 U.S.C. § 1746, I, Ron Bruce, do hereby verify under penalty of
   perjury that the foregoing responses to Defendant’s Interrogatories are true and
   correct to the best of my information and belief.

         Dated this 13th day of August, 2013.

                                          ______             _____________
                                          s/Sheriff Ron Bruce




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